                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI


 CHASE E. FISCHBECK,                                   Civil Action No. ____________

                  Plaintiff,

         v.

 BOARD OF TRUSTEES OF MISSOURI                           NOTICE OF REMOVAL
 VALLEY COLLEGE,                                            28 U.S.C. § 1446
 and

 MISSOURI VALLEY COLLEGE,

 and

 TREVOR PHILLIPS,

 and

 PAUL TROTH,

 and

 BRIAN FERGUSON,

 and

 HEATH MORGAN,

                  Defendants.


                                  NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendants Board of Trustees of Missouri

Valley College, Missouri Valley College, Trevor Phillips, Paul Troth, Brian Ferguson, and Heath

Morgan (collectively referred to as “Defendants”) hereby give notice of the removal of the case

styled Fischbeck v. Board of Trustees of Missouri Valley College, et al., No. 19SA-CV00587



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(Circuit Court of Saline County, Missouri), to the United States District Court for the Western

District of Missouri. Defendants state the following grounds for removal:

        1.       On July 3, 2019, Chase E. Fischbeck (“Plaintiff”) commenced this action in the

Circuit Court of Saline County, Missouri by filing his Petition.

        2.       Plaintiff served a copy of his Petition on Defendants Board of Trustees of

Missouri Valley College, Missouri Valley College, and Morgan on July 29, 2019.

        3.       Plaintiff served a copy of his Petition on Defendant Phillips on July 30, 2019.

        4.       Plaintiff served a copy of his Petition on Defendant Troth on July 30, 2019.

        5.       Plaintiff has not served Defendant Ferguson as of the date of this filing.

        6.       All Defendants consent to removal.

        7.       There are no co-defendants whose consent is otherwise required for removal,

since counsel for Defendants collectively represent all Defendants.

        8.       Plaintiff’s Petition consists of seven counts.

                          a. Count I alleges discrimination/retaliation under Title VI against all

                             Defendants.

                          b. Count II alleges Section 1983 claims for failure to hire qualified

                             employees and failure to adequately train its employees against

                             Defendants Board of Trustees of Missouri Valley College and Missouri

                             Valley College.

                          c. Plaintiff does not state a Count III.

                          d. Count IV alleges Section 1983 Equal Protection claims against

                             Defendant Phillips.




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                          e. Count V also alleges Section 1983 Equal Protection claims against

                             Defendant Troth.

                          f. Plaintiff alleges a second Count V alleging Section 1983 Equal

                             Protection claims against Defendant Ferguson.

                          g. Count VI alleges Section 1983 supervisory liability claims against

                             Defendant Morgan.

                          h. Count VII alleges negligence against all Defendants.

        9.       In Count I, Plaintiff invokes Title VI by stating that “MVC is a recipient of

federal funds,” Pet. ¶ 98, and that the Board of Trustees for Missouri Valley College “is

responsible for the administration of the programs offered at and funded via federal funds

received by MVC.” Pet. ¶ 99.

        10.      Further, Plaintiff alleges that Title VI protects individuals, such as Plaintiff, from

being “denied the full panoply of educational benefits afforded other similarly situated members

of the MVC football team and MVC student body because of [Plaintiff’s] race (white) and

because of his gender (male).” Pet. ¶ 100.

        11.      In Count II, Plaintiff alleges Section 1983 claims for failure to hire qualified

employees and failure to adequately train its employees, which was “deliberately indifferent to

the Constitutional rights of Plaintiff.” Pet. ¶ 120.

        12.      In Counts IV, V, and Plaintiff’s second Count V, Plaintiff alleges Section 1983

claims in violation of the Equal Protection Clause, found in the text of the Fourteenth

Amendment to the United States Constitution.

        13.      In Count VI, Plaintiff alleges Section 1983 supervisory liability claims.




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        14.       Therefore, Plaintiff’s claims for discrimination, as well as Section 1983 and Equal

Protection claims arise under federal law and contain substantial federal questions necessary for

its resolution.

        15.       Further, Plaintiff even acknowledges that he “has presented a federal question”

because this case arises under “42 U.S.C. § 1983, Title VI of the Civil Rights Act of 1964, 42

U.S.C. § 2000d et seq. and the Equal Protection Clause of the Fourteenth Amendment to the

United States Constitution.” Pet. ¶ 2.

        16.       Pursuant to 28 U.S.C. § 1331, this Court has original jurisdiction over all civil

actions arising under the Constitution, laws, or treaties of the United States.

        17.       Pursuant to 28 U.S.C. § 1367, this Court has supplemental jurisdiction over

Plaintiff’s remaining claims because they form part of the same case or controversy as his claims

invoking federal law.

        18.       Because of this Court’s original jurisdiction over Plaintiff’s Counts I-VI, removal

of this action is proper pursuant to 28 U.S.C. § 1441(a) and (c).

        19.       This Court may exercise supplemental jurisdiction over Plaintiff’s remaining

claims pursuant to 28 U.S.C. § 1367 and 28 U.S.C. § 1441(c).

        20.       The filing of this Notice of Removal is timely under 28 U.S.C. § 1446(b) because

it is within thirty (30) days of receipt by Defendants, through service or otherwise, of a copy of

the initial pleading setting forth the claims for relief upon which this action is based.

        21.       Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders

served upon Defendants in this action are attached hereto. Plaintiff has not served, and

Defendants have not received, any other process, pleadings or orders.




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        22.      After the filing of this Notice of Removal, Defendants will file a copy of this

Notice with the Clerk of the Circuit Court of Saline County, Missouri, and will provide notice to

Plaintiff, all as provided by 28 U.S.C. § 1446(d).

        WHEREFORE, Defendants state that they have divested the state court of jurisdiction by

filing with that Court a Notice of Filing this Notice of Removal, and requests that this Court

proceed with adjudication of this matter.



                                                     Respectfully submitted,

                                                     /s/ Aleksandra Ostojic Rushing
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                                                     of Missouri Valley College, Missouri Valley
                                                     College, Trevor Phillips, Paul Troth, Brian
                                                     Ferguson, and Heath Morgan




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                                 CERTIFICATE OF SERVICE

        I certify that on this 28th day of August, 2019, the foregoing was filed electronically with

the Clerk of the Court by using the CM/ECF system. I further certify that a true and correct copy

was served upon the following counsel via U.S. mail to:

                          Eric Playter
                          PLAYTER & PLAYTER, LLC
                          5725 Blue Ridge Blvd.
                          Kansas City, MO 64133
                          Attorneys for Plaintiff


                                              By:    /s/ Aleksandra Ostojic Rushing
                                                     ALEKSANDRA OSTOJIC RUSHING, MO# 68304




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